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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


 VLSI TECHNOLOGY LLC,                                Lead Case: 1:19-cv-977-ADA

                           Plaintiff,                (Consolidated Cases for Pretrial Purposes:
                                                     Nos. 6:19-cv-255-ADA, and 6:19-cv-256-
                          v.                         ADA)

 INTEL CORPORATION,                                  JURY TRIAL DEMANDED
                           Defendant.



                        PLAINTIFF VLSI TECHNOLOGY LLC'S
                 NOTICE REGARDING INTER PARTES REVIEW DECISIONS


           I write on behalf of VLSI to update the Court about the one dozen IPR petitions that Intel

filed at the PTAB against the eight patents asserted in these consolidated cases.

           The PTAB denied institution of every one of Intel’s twelve IPRs. Intel then sought

rehearing on each of those rulings. On February 19, 2021, the PTAB issued the twelfth of its

twelve decisions denying Intel’s requests for rehearing. In sum, every one of Intel's IPRs and

associated requests for rehearing, concerning every one of the patents asserted across the

consolidated cases, has now been denied.



                                                     Respectfully submitted,

 Dated: February 19, 2021                            By: /s/ Andy Tindel


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                                   CERTIFICATE OF SERVICE

           A true and correct copy of the foregoing instrument was served or delivered electronically

via the Court’s ECF system to all counsel of record, on February 19, 2021.



                                                        /s/ Andy Tindel
                                                          Andy Tindel




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